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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




UNITED STATES OF AMERICA,                     )      Case No.: 5:07 CR 409-05
                                              )
       Plaintiff                              )      JUDGE SOLOMON OLIVER, JR.
                                              )
       v.                                     )
                                              )      ORDER ACCEPTING PLEA
OSCAR D. PALACIOS,                            )      AGREEMENT, JUDGMENT AND
                                              )      REFERRAL TO U. S. PROBATION
       Defendant                              )      OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Kenneth S. McHargh, regarding the change of plea hearing of , which was

referred to the Magistrate Judge with the consent of the parties.

       On November 15, 2007 the government filed a forty-one count indictment, charging

Defendant, Oscar D. Palacios, with Conspiracy to Possess and Distribute at least five kilograms

or more of cocaine in violation of Title 21 United States Code, Section 846 Conspiracy to

Possess and Distribute at Least Five Kilograms or More of Cocaine. On December 5, 2007,

Defendant Palacios was arraigned and entered a plea of not guilty before Magistrate Judge James

S. Gallas. On August 13, 2008, Magistrate Judge Kenneth S. McHargh received Defendant

Palacios’ plea of guilty to count 41 of the Superseding Indictment and issued a Report and
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Recommendation (“R&R”) concerning whether the plea should be accepted and a finding of

guilty entered.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Palacios is found to be competent to enter a plea and to understand his constitutional rights. He

is aware of the charges and of the consequences of entering a plea. There is an adequate factual

basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Palacios is adjudged guilty of Count 41 of the Superseding

Indictment, in violation of Title 21 United States Code, Section 846. Sentencing will be on

November 13, at 3:00 p.m. in Courtroom 17-A, Carl B. Stokes United States Court House, 801

West Superior Avenue, Cleveland, Ohio.

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
